       Case 1:21-cv-00040-CJN Document 22-3 Filed 03/22/21 Page 1 of 32




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
                                             )
US DOMINION, INC., DOMINION VOTING           )
SYSTEMS, INC., and DOMINION VOTING           )
SYSTEMS CORPORATION,                         )
                                                 Civil Action No. 1:21-cv-00040-CJN
       Plaintiffs,                           )
                                             )
               v.                            )
SIDNEY POWELL, SIDNEY POWELL, P.C., and      )
DEFENDING THE REPUBLIC, INC.,                )
                                             )
       Defendants.                           )
                                             )
                                 EXHIBITS TO
         MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS




Lawrence J. Joseph                    Howard Kleinhendler
D.C. Bar No. 464777                   N.Y. Bar No. 2657120, admitted pro hac vice
LAW OFFICE OF LAWRENCE J. JOSEPH      HOWARD KLEINHENDLER ESQUIRE
1250 Connecticut Av NW Suite 700-1A   369 Lexington Ave. 12th Floor
Washington, DC 20036                  New York, New York 10017
Tel: (202) 355-9452                   Tel: (917) 793-1188
Fax: (202) 318-2254                   Email: howard@kleinhendler.com
ljoseph@larryjoseph.com
                                      Counsel for Sidney Powell, Sidney Powell, P.C.
Local Counsel for All Defendants
                                      Jesse R. Binnall
                                      D.C. Bar No. 79292
                                      BINNALL LAW GROUP
                                      717 King Street, Suite 200
                                      Alexandria, VA 22314
                                      Tel: (703) 888-1943
                                      Email: jesse@binnall.com

                                      Counsel for Defending The Republic, Inc.
           Case 1:21-cv-00040-CJN Document 22-3 Filed 03/22/21 Page 2 of 32




                                                  INDEX OF EXHIBITS
EXHIBIT 1: Declaration of Patrick M. Byrne .................................................................................1
EXHIBIT 2: Declaration of Sidney K. Powell ................................................................................3
EXHIBIT 3: Alexa Corse, Dominion Sues MyPillow, CEO Mike Lindell Over
Election Claims, WSJ.com, Politics, Election 2020, Feb. 22, 2021a ...............................................4
EXHIBIT 4: Alexa Corse, Sidney Powell Is Sued by Voting-Machine Company
Dominion for Defamation, WSJ.com, Jan. 8, 2021b ........................................................................7
EXHIBIT 5: John Poulos transcript, Voting System Vendors, Local Election
Officials And Computer Science Professors Testified On 2020 Election Security
Before The House Administration Committee, C-SPAN, January 9, 2021c .................................10
EXHIBIT 6: Fred Lucas, The Top Five Rigged U.S. Presidential Elections,
Newsweek (Oct. 23, 2016)d ...........................................................................................................12
EXHIBIT 7: Brad Johnson, Texas Rejected Use of Dominion Voting System
Software Due to Efficiency Issues, THE TEXAN (Nov. 19, 2020)e ................................................25




a
       Available at https://www.wsj.com/articles/dominion-sues-mypillow-ceo-mike-lindell-
over-election-claims-11613996104?mod=searchresults_pos2&page=1 (last visited Mar. 22,
2021).
b
      Available at https://www.wsj.com/articles/sidney-powell-is-sued-by-voting-machine-
company-dominion-for-defamation-11610124461 (last visited Mar. 22, 2021).
c
       Available at https://www.c-span.org/video/?467976-1/2020-election-security# (last visited
Mar. 22, 2021) (the excerpted Poulos testimony is runs from 19:35-22:27 of the 2:40:39 video).
d
      Available      at    https://www.newsweek.com/top-five-rigged-us-presidential-elections-
511765 (last visited Mar. 22, 2021).
e
       Available      at    https://thetexan.news/texas-rejected-use-of-dominion-voting-system-
software-due-to-efficiency-issues/ (last visited Mar. 22, 2021).



                                                                   i
        Case 1:21-cv-00040-CJN Document 22-3 Filed 03/22/21 Page 3 of 32




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


                                                      )
 US DOMINION, Inc., et al.,                           )
                                                      )    Civil Action No. 1:21-cv-00040-CJN
               Plaintiffs,                            )
                                                      )
         v.                                           )
                                                      )
 SIDNEY POWELL, et al.,                               )
                                                      )
              Defendants.                             )
                                                      )

                             DECLARATION OF PATRICK M. BYRNE

       Pursuant to 28 U.S.C. § 1746, I, Patrick M. Byrne, make the following declaration.

       1.      I am over the age of 21 years, and I am under no legal disability which would

prevent me from giving this declaration, and have personal knowledge of the matters stated herein.

       2.      My name is Patrick M. Byrne.

       3.      I am a resident of Utah.

       4.      I currently serve as the Chairman and Chief Executive Officer of Defending the

Republic, Inc. (hereinafter “DTR”).

       5.      DTR was incorporated in the state of Texas in December 2020.

       6.      DTR’s principal place of business is in Dallas, Texas.

       7.      DTR does not have and has never had a physical office in Washington, D.C. nor

does it transact business in D.C.

       8.      DTR maintains a drop box for mail at 601 Pennsylvania Ave., NW, South Building




                                                  -1-
No. 1:21-cv-0040-CJN (Exhibits)                                                                 1
       Case 1:21-cv-00040-CJN Document 22-3 Filed 03/22/21 Page 4 of 32




Suite 900, Washington, D.C. 20004. This is a “virtual address” for mail receipt only. None of

DTR’s work is performed at this address nor do any DTR employees work from that address.

       9.     None of DTR’s employees are attorneys. When DTR has a need for legal services,

it either hires a law firm or retains independent contract attorneys. The contract attorneys DTR

hires may represent clients other than DTR on matters unrelated to DTR or to its mission.

       10.    The independent contract attorneys retained by DTR have not appeared in any

courts in Washington, D.C. on behalf of DTR as a client, nor have they filed any case in any D.C.

court on DTR’s behalf.

       I declare under penalty of perjury that the foregoing is true and correct.




Executed this ___ day of March 2021.

                                                             Pa c M. B              e
                                                             ___________________________
                                                             Patrick M Byrne Mar EDT

                                                             Patrick M. Byrne




                                                   -2-
No. 1:21-cv-0040-CJN (Exhibits)                                                                2
       Case 1:21-cv-00040-CJN Document 22-3 Filed 03/22/21 Page 5 of 32




                                Declaration of Sidney K. Powell

         1.      My name is Sidney K. Powell. I am over the age of 18 and have personal
   knowledge of the matters set forth in this declaration.

           2.       I am a resident of Dallas, Texas. I do not reside in, nor own real property
   in, the District of Columbia. I do not have a law office or business office in the District of
   Columbia.

          3.      I am a member of the Texas State Bar. I am not a member of any other
   State Bar. My law practice consists primarily of federal appeals in the United States
   Court of Appeals for the Fifth Circuit.

          4.      I am the sole owner of my professional corporation, Sidney Powell, P.C.
   Sidney Powell, P.C. is a registered Texas professional corporation. The principal place
   of business of Sidney Powell P.C. is in Dallas, Texas.


           I declare under penalty of perjury under the laws of the United States of America
   that the foregoing is true and correct.


   Executed on the 22nd day of March, 2021.


   Sidne P ell
   _________________________________
   Sidne Powell Mar  CDT


   Sidney K. Powell




No. 1:21-cv-0040-CJN (Exhibits)                                                                     3
                         Case 1:21-cv-00040-CJN Document 22-3 Filed 03/22/21 Page 6 of 32
Dominion Sues MyPillow, CEO Mike Lindell Over Election Claims - WSJ                                                                                                                        3/19/21, 2:28 PM




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                             https://www.wsj.com/articles/dominion-sues-mypillow-ceo-mike-lindell-over-election-claims-11613996104


          POLITICS | ELECTION 2020

          Dominion Sues MyPillow, CEO Mike Lindell
          Over Election Claims
          The voting-machine maker’s lawsuit alleges defamation, seeks more than $1.3 billion in damages




                     Mike Lindell, CEO of Minnesota-based MyPillow, outside the West Wing of the White House on Jan. 15.
                     PHOTO: STAR TRIBUNE/ZUMA PRESS


                     By Alexa Corse
                     Updated Feb. 22, 2021 11:36 am ET


                            Listen to this article
                            5 minutes


                     WASHINGTON—One of the largest makers of voting machines in the U.S. on Monday sued
                     a prominent supporter of former President Donald Trump, alleging that the businessman
                     had defamed the company with false accusations that it had rigged the 2020 election for
                     President Biden.

                     Dominion Voting Systems sued Mike Lindell, chief executive of Minnesota-based
                     MyPillow Inc., and his company in the U.S. District Court for the District of Columbia,
                     seeking more than $1.3 billion in damages.

                     In its complaint, the company cites a number of statements made by Mr. Lindell, including
                     in media appearances, social-media posts, and a two-hour film claiming to prove
                     widespread election fraud. Mr. Lindell said he helped produce the film, which he released
                     online in early February.

                     The complaint alleges that Mr. Lindell made false claims about the integrity of Dominion’s


https://www.wsj.com/articles/dominion-sues-mypillow-ceo-mike-lindell-over-election-claims-11613996104?mod=searchresults_pos2&page=1                                                             Page 1 of 3

              No. 1:21-cv-0040-CJN (Exhibits)                                                                                                                                              4
                         Case 1:21-cv-00040-CJN Document 22-3 Filed 03/22/21 Page 7 of 32
Dominion Sues MyPillow, CEO Mike Lindell Over Election Claims - WSJ                                                                   3/19/21, 2:28 PM


                     voting machines and that he knew no credible evidence supported his claims that the
                     company had stolen the election from Mr. Trump—what Dominion has called the “Big
                     Lie.”

                     “He is well aware of the independent audits and paper ballot recounts conclusively
                     disproving the Big Lie,” the complaint states. “But Lindell…sells the lie to this day because
                     the lie sells pillows.”

                                                                            The suit also names MyPillow as a defendant.
                     SHARE YOUR THOUGHTS
                                                                            In an interview Monday, Mr. Lindell said he was
                     Are you concerned that Americans have
                                                                            “very, very happy” to learn of the lawsuit.
                     lost faith in the electoral system? If so,
                     what steps could leaders take to bolster
                                                                            “I have all the evidence on them,” he said. “Now
                     trust? Join the conversation below.
                                                                            this will get disclosed faster, all the machine
                                                                            fraud and the attack on our country.”

                     Dominion’s lawsuit accuses Mr. Lindell of repeatedly and falsely alleging that algorithms
                     in Dominion’s voting machines had stolen votes from Mr. Trump. It said he had
                     undertaken a marketing campaign for the pillow company based on his support for Mr.
                     Trump and the former president’s claims that the election had been stolen from him.

                     Dominion says the allegations by Mr. Lindell and others have irreparably damaged its
                     reputation, jeopardized its contracts with state and local governments, and prompted
                     death threats and harassment against employees. The company says it supplies election
                     equipment used by more than 40% of U.S. voters.

                     Federal and state oﬃcials have said there is no evidence that any voting system deleted or
                     changed votes in the November election. Election oﬃcials have recounted and audited
                     millions of paper ballots in multiple states, which have aﬃrmed the outcomes tabulated
                     by Dominion’s machines. Those states include Georgia, which Mr. Biden carried by less
                     than 12,000 votes out of roughly 5 million.



                     Last month, Dominion filed defamation suits against Rudy Giuliani, Mr. Trump’s personal
                     attorney, and pro-Trump attorney Sidney Powell . Mr. Giuliani has said he would use the
                     lawsuit to investigate Dominion and that the suit represented an attempt to censor him.
                     Ms. Powell has said that she didn’t publish any statement she knew was false and that she
                     has credible evidence.

                                                                            Lawyers for Dominion have sent letters to
                     ELECTION AFTERMATH                                     multiple media outlets and others that the
                         •Voting-Machine Company Smartmatic Sues Fox        attorneys allege spread false claims of election
                          News Over Election Claims (Feb. 4)                fraud, seeking retractions or instructing them to
                         •Dominion Voting Systems Sues Rudy Giuliani Over   preserve records related to the 2020 election in
                          Claims of Rigged Election (Jan. 25)
                                                                            case of potential litigation, The Wall Street
                         •New York State Bar Association Weighs Stripping
                          Giuliani of Membership (Jan. 11)                  Journal has reported.
                         •Sidney Powell Is Sued by Voting-Machine
                          Company Dominion for Defamation (Jan. 8)          Another voting-machine company, Smartmatic
                         •Voting Machine Supplier Criticized by Trump in    USA Corp., sued Fox Corp.’s Fox News, seeking
                          Spotlight on Election Integrity (Nov. 17, 2020)
                                                                            $2.7 billion in damages for what it alleges were
                                                                            defamatory on-air comments about the
                                                                            company’s products. The network has said it is
                                                                            proud of its 2020 election coverage and has


https://www.wsj.com/articles/dominion-sues-mypillow-ceo-mike-lindell-over-election-claims-11613996104?mod=searchresults_pos2&page=1        Page 2 of 3

              No. 1:21-cv-0040-CJN (Exhibits)                                                                                         5
                         Case 1:21-cv-00040-CJN Document 22-3 Filed 03/22/21 Page 8 of 32
Dominion Sues MyPillow, CEO Mike Lindell Over Election Claims - WSJ                                                                                                                        3/19/21, 2:28 PM


                     asked the court to dismiss the suit. Fox Corp. and Wall Street Journal parent News Corp
                     share common ownership.

                     Dominion Chief Executive John Poulos told reporters on Monday, “Despite repeated
                     warnings and eﬀorts to share the facts with him, Mr. Lindell has continued to maliciously
                     spread false claims about Dominion, each time giving empty assurances that he would
                     come forward with overwhelming proof.”



                     Mr. Lindell has said that a number of retailers have stopped selling his pillow company’s
                     products since he began promoting the election-fraud claims. A spokeswoman for Kohl's
                     Corp. said that it had decided to stop buying additional inventory but said that the
                     decision was because of decreased customer demand. Similarly, a Bed Bath & Beyond Inc.
                     spokesman said the company dropped the brand because of poor sales, not politics.

                     Twitter Inc. permanently suspended Mr. Lindell's account in January for repeatedly
                     violating its civic-integrity policy, a Twitter spokesman said.

                     Write to Alexa Corse at alexa.corse@wsj.com

                     Appeared in the February 23, 2021, print edition as 'MyPillow, CEO Sued Over Vote Claims.'




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              No. 1:21-cv-0040-CJN (Exhibits)                                                                                                                                              6
                        Case 1:21-cv-00040-CJN Document 22-3 Filed 03/22/21 Page 9 of 32
Sidney Powell Is Sued by Voting-Machine Company Dominion for Defamation - WSJ                                                                                                             3/19/21, 2:30 PM




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          U.S.

          Sidney Powell Is Sued by Voting-Machine
          Company Dominion for Defamation
          Pro-Trump lawyer made ‘wild’ accusations about rigging November’s election, company says




                     Sidney Powell had accused Dominion of fraudulently deleting or changing votes.
                     PHOTO: ELIJAH NOUVELAGE/REUTERS


                     By Alexa Corse
                     Updated Jan. 8, 2021 12:45 pm ET


                            Listen to this article
                            3 minutes


                     WASHINGTON—Dominion Voting Systems on Friday sued pro-Trump lawyer Sidney
                     Powell for defamation, seeking more than $1.3 billion in damages over what the voting-
                     machine company said were “wild” and “demonstrably false” accusations, including her
                     allegation that it had rigged November’s election in President-elect Joe Biden’s favor.

                     “As a result of the defamatory falsehoods peddled by Powell—in concert with like-minded
                     allies and media outlets who were determined to promote a false preconceived narrative
                     —Dominion’s founder, Dominion’s employees, Georgia’s governor, and Georgia’s secretary
                     of state have been harassed and have received death threats, and Dominion has suﬀered
                     enormous harm,” the Denver-based company said in a 124-page complaint filed in the U.S.
                     District Court for the District of Columbia.

                     Among other claims, Ms. Powell accused Dominion of fraudulently deleting or changing
                     votes, and said the company’s software was created in Venezuela to rig elections. The suit
                     said Ms. Powell spread false accusations about election fraud “to financially enrich


https://www.wsj.com/articles/sidney-powell-is-sued-by-voting-machine-company-dominion-for-defamation-11610124461                                                                               Page 1 of 3

                 No. 1:21-cv-0040-CJN (Exhibits)                                                                                                                                          7
                       Case 1:21-cv-00040-CJN Document 22-3 Filed 03/22/21 Page 10 of 32
Sidney Powell Is Sued by Voting-Machine Company Dominion for Defamation - WSJ                                                   3/19/21, 2:30 PM


                     herself, to raise her public profile, and to ingratiate herself to Donald Trump. ”

                                                                              Ms. Powell didn’t immediately respond to an
                         ‘Dominion has suﬀered                                email seeking comment.
                         enormous harm.’                                      Dominion has faced a blizzard of false
                         — From company’s U.S. District Court                 accusations about election fraud in the wake of
                         filing
                                                                              Mr. Biden’s election victory over President
                                                                              Trump, including claims amplified by Mr. Trump
                     and his supporters at rallies and on social media.

                     “For us, it has been building up for many weeks and months,” Dominion Chief Executive
                     John Poulos said in an interview.

                     He said, in a statement, that the lies told about the company and government election
                     oﬃcials also had harmed the credibility of U.S. elections.

                     Dominion’s voting machines are widely used, serving more than 40% of U.S. voters,
                     according to the company’s website.

                     U.S. federal and state oﬃcials have said there is no evidence that any voting system
                     deleted or changed votes during the November election. Election oﬃcials have audited
                     and recounted millions of paper ballots in multiple states and counties, aﬃrming the
                     outcomes tabulated by Dominion’s machines. That included Georgia, which Mr. Biden
                     carried by a small margin.

                     Multiple courts have dismissed lawsuits filed by Ms. Powell to challenge the results.



                     Ms. Powell’s role in Mr. Trump’s orbit has been sometimes unclear. She was ousted from
                     the president’s legal team in late November. The next month, Mr. Trump considered the
                     prospect of naming her a special counsel to investigate claims of election fraud, but hasn’t
                     done so, The Wall Street Journal has reported.

                     Asked if Dominion might take legal action against Mr. Trump, Tom Clare, an attorney for
                     the company, didn’t rule it out.

                     “This is the first in a series of actions that we’re going to be taking against others who are
                     involved and complicit in this defamation,” Mr. Clare said. “No one has been ruled out.”

                     TRUMP AND THE ELECTION

                         •Democrats Intensify Calls for Trump’s Removal

                         •Capitol Attack Unites a Nation in Horror—Though Not Entirely

                         •Analysis: Investors Assumed Democracy Would Endure. They’ve Been Right So Far

                         •Trump Increasingly Isolated, Angry

                         •Trump-Pence Relationship Is Strained




                     Write to Alexa Corse at alexa.corse@wsj.com


                     Appeared in the January 9, 2021, print edition as 'Pro-Trump Lawyer Is Sued by Dominion.'




https://www.wsj.com/articles/sidney-powell-is-sued-by-voting-machine-company-dominion-for-defamation-11610124461                     Page 2 of 3

              No. 1:21-cv-0040-CJN (Exhibits)                                                                                   8
                       Case 1:21-cv-00040-CJN Document 22-3 Filed 03/22/21 Page 11 of 32
Sidney Powell Is Sued by Voting-Machine Company Dominion for Defamation - WSJ                                                                                                            3/19/21, 2:30 PM


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https://www.wsj.com/articles/sidney-powell-is-sued-by-voting-machine-company-dominion-for-defamation-11610124461                                                                              Page 3 of 3

              No. 1:21-cv-0040-CJN (Exhibits)                                                                                                                                            9
       Case 1:21-cv-00040-CJN Document 22-3 Filed 03/22/21 Page 12 of 32




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                        )
US DOMINION, INC., DOMINION VOTING                      )
SYSTEMS, INC., and DOMINION VOTING                      )
SYSTEMS CORPORATION,                                         Civil Action No. 1:21-cv-00040-CJN
                                                        )
       Plaintiffs,                                      )
                                                        )
               v.
                                                        )
SIDNEY POWELL, SIDNEY POWELL, P.C., and
                                                        )
DEFENDING THE REPUBLIC, INC.,                           )
       Defendants.                                      )
                                                        )

              EXCERPT OF JOHN POULOS’ TESTIMONY BEFORE HOUSE
                ADMINISTRATION COMMITTEE ON JANUARY 9, 2021

       I, Lawrence J. Joseph, hereby declare and state as follows:

       1.      I am over the age of 18, and I reside in McLean, Virginia.

       2.      I am an attorney representing the defendants in the above-captioned action.

       3.      In support of their motion to dismiss, defendants cite the testimony of John Poulos,

who identifies himself as the Chief Executive Officer of Dominion Voting Systems, in his opening

statement to the House Administration Committee on January 9, 2021, but neither a video nor a

transcript of his testimony or the hearing appears to be available yet on the House website.

       4.      A video of the hearing is available at https://www.c-span.org/video/?467976-

1/2020-election-security# (last visited Mar. 22, 2021), and can be purchased from C-SPAN.

       5.      Defendants have purchased the video and can make it available if requested (e.g.,

in the event that C-SPAN removes or moves the video), but the video is approximately 750

megabytes and in mp4 format, which I understand we are unable to file via the ECF system.




No. 1:21-cv-0040-CJN (Exhibits)                                                                 10
       Case 1:21-cv-00040-CJN Document 22-3 Filed 03/22/21 Page 13 of 32




       6.      The video is 2:40:39 in length (i.e., over two and a half hours) because it contains

the full hearing. If the Court requests it, defendants can file a copy of the entire video on a DVD.

       7.      Between 19:35 and 22:27 of the video, Mr. Poulos makes the following statements,

or words to the following effect:

               The company abides by these principles to this day. Driving
               innovations and advancements for auditability and resilience
               directed by federal, state, and local election officials. Supporting
               elections is a full-time proposition for our company. This past year
               alone, Dominion assisted state and local election officials in
               conducting nearly 300 elections. Complete with a rigorous public
               scrutiny that comes with it. … Moreover, we actively engage with
               the EAC, DHS, and other trusted third parties to maintain and
               enhance our enterprise security[.] … Finally, we all -- we meet all
               independent testing requirements, including EAC standards
               developed in conjunction with NIST and requirements … set forth
               by individual states. … Our systems ensure federal protections for
               privacy and equal voting rights, and ballot casting options for all,
               including American service members abroad. The existence of
               nation state threats means that we must actively defend against any
               attempts to undermine faith in our democratic institutions. In this
               regard, we hope to see Congress continuing its work with state and
               local election officials to keep election systems secure. We
               commend Congress on its bipartisan investment of an additional
               $425 million to help election officials modernize their
               infrastructure.

       8.      I have personal knowledge of the foregoing and am competent to testify to it at trial.

I declare under penalty of perjury that the foregoing is true and correct. Executed on this 22nd day

of March 2021.




                                               /s/ Lawrence J. Joseph
                                              Lawrence J. Joseph




                                                 2
No. 1:21-cv-0040-CJN (Exhibits)                                                                   11
3/22/2021            Case 1:21-cv-00040-CJN Document       22-3U.S.Filed
                                            The Top Five Rigged            03/22/21
                                                                    Presidential Elections Page 14 of 32

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   OPINION

   The Top Five Rigged U.S. Presidential Elections


   FRED LUCAS
   ON 10/23/16 AT 6:30 AM EDT




                                                                                                    SUBSCRIBE

            No. 1:21-cv-0040-CJN (Exhibits)                                                                 12
https://www.newsweek.com/top-five-rigged-us-presidential-elections-511765                                          1/19
3/22/2021            Case 1:21-cv-00040-CJN Document       22-3U.S.Filed
                                            The Top Five Rigged            03/22/21
                                                                    Presidential Elections Page 15 of 32




      Jacqueline and then-Senator John F. Kennedy in Hyannisport, Massachusetts, on June 27, 1953. Fred Lucas quotes
      The Washington Post: "There was a cemetery where the names on the tombstones were registered and voted. I
      remember a house. It was completely gutted. There was nobody there. But there were 56 votes for Kennedy in that
      house."
      REUTERS




                                                      


       OPINION             2016 PRESIDENTIAL ELECTION                       G E O R G E W. B U S H   AL GORE    BUSH




   T              his article first appeared on The Daily Signal.



   In the 2016 presidential election, one candidate is warning about voter fraud,
   while another proclaims Russians are interfering. It's not the first time contenders
   have alleged some form of a "rigged" election.                                                              SUBSCRIBE

            No. 1:21-cv-0040-CJN (Exhibits)                                                                            13
https://www.newsweek.com/top-five-rigged-us-presidential-elections-511765                                                   2/19
3/22/2021            Case 1:21-cv-00040-CJN Document       22-3U.S.Filed
                                            The Top Five Rigged            03/22/21
                                                                    Presidential Elections Page 16 of 32

   Tuesday in the Rose Garden, President Barack Obama dismissed concerns of
   fraud.


              I have never seen in my lifetime, or in modern political history, any
              presidential candidate trying to discredit the elections process before votes
              have even taken place. It's unprecedented.

              There is no serious person out there who would suggest somehow that you
              could even rig America's elections, in part because they are so
              decentralized and the number of votes that are cast. There is no evidence
              that has happened in the past, or instances that will happen this year.



   NEWSWEEK SUBSCRIPTION OFFERS >




   While such complaints have been rare before votes were cast, they were very
   prominent in certain presidential elections, as was evidence that votes weren't
   always counted properly.

   In my book, Tainted by Suspicion: The Secret Deals and Electoral Chaos of
   Disputed Presidential Elections, I write about some of the most controversial
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            No. 1:21-cv-0040-CJN (Exhibits)                                                                 14
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3/22/2021            Case 1:21-cv-00040-CJN Document       22-3U.S.Filed
                                            The Top Five Rigged            03/22/21
                                                                    Presidential Elections Page 17 of 32

   presidential elections that left large segments of the population believing their
   president was selected instead of elected. In two elections, the aftermath nearly
   led to mass violence.

   1800: John Adams vs. Thomas Jefferson/Thomas Jefferson vs. Aaron Burr

   James Monroe, who was aligned with the Democratic-Republican faction led by
   Thomas Jefferson, worried about reports that Jefferson supporters were arming
   for revolt, and said, "Anything [like] a commotion would be fatal to us." Jefferson
   much preferred a convention to amend the Constitution if the opposing
   Federalists continued down this road.

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   Though it would be Alexander Hamilton who would play a massive role in the
   outcome, there was a great flurry of activity that led up to the final result.
   Moderates in both camps didn't want to see the country torn apart should the die-
   hard Federalists push it to the deadlock and try to appoint a president.

   Thousands poured into Washington, prepared for partisan violence if there was
   what the Jeffersonians called "usurpation." President John Adams would assert
   years later, "a civil war was expected."
                                                                                                    SUBSCRIBE

            No. 1:21-cv-0040-CJN (Exhibits)                                                                 15
https://www.newsweek.com/top-five-rigged-us-presidential-elections-511765                                        4/19
3/22/2021            Case 1:21-cv-00040-CJN Document       22-3U.S.Filed
                                            The Top Five Rigged            03/22/21
                                                                    Presidential Elections Page 18 of 32

   Benjamin Franklin's cautionary words, "a Republic, if you can keep it," were put to
   the test. As it turned out, Americans could keep it.

   Flaws and all, these were men with enough character and intellect to realize the
   folly of clinging to power or risking bloodshed to obtain it. The nation truly could
   have been on the brink of collapse while still in its infancy.

   1824: John Quincy Adams vs. Andrew Jackson

   On February 14, 1824, Henry Clay accepted the offer of the President-elect John
   Quincy Adams to serve as his secretary of state—presumably making him the
   next heir apparent since the last four men to lead the State Department became
   president.

   Andrew Jackson and his supporters immediately called this a "corrupt bargain"
   between Adams and Clay.

   The enraged Jackson said Speaker Clay approached him with a similar offer—to
   make him president in exchange for Jackson appointing him as secretary of state.
   As Jackson told it, he had too much character to accept such an offer. So Clay
   went to Adams with the same offer and received a different answer.




                                                                                                    SUBSCRIBE

            No. 1:21-cv-0040-CJN (Exhibits)                                                                 16
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3/22/2021            Case 1:21-cv-00040-CJN Document       22-3U.S.Filed
                                            The Top Five Rigged            03/22/21
                                                                    Presidential Elections Page 19 of 32

   Clay and Adams denied that any deal was made. Clay even demanded a
   congressional investigation into the allegations, which found no proof. It is one of
   those things that can be difficult to prove or disprove if no witnesses were present
   for those meetings. Above all, having those meetings to start with seems a
   miscalculation on the part of Adams, who should have known it might look
   suspicious.

   That said, there is no question who Clay preferred between the two. The only real
   question is who was telling the truth, Jackson or Clay, on the charge that he made
   the same offer to both rivals.

   Clay considered the optics of becoming secretary of state as well, he later told
   friends, but thought he couldn't reject the nomination because: "It would be said of
   me that, after having contributed to the elevation of a president, I thought so ill of
   him that I would not take first place under him."




   1876: Rutherford B. Hayes vs. Samuel Tilden

   Henry Watterson, publisher of the Louisville Courier-Journal and a Democratic
   congressman from Kentucky, on January 8, 1876—which he called "St. Jackson's
   Day" because it marked the Battle of New Orleans—called for "the presence of at
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            No. 1:21-cv-0040-CJN (Exhibits)                                                                 17
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3/22/2021            Case 1:21-cv-00040-CJN Document       22-3U.S.Filed
                                            The Top Five Rigged            03/22/21
                                                                    Presidential Elections Page 20 of 32

   least 10,000 unarmed Kentuckians in the city" to march on Washington to ensure
   Samuel Tilden was elected.

   His friend Joseph Pulitzer, still building a vast newspaper empire, went further,
   calling for 100,000 people "fully armed and ready for business" to ensure that
   Tilden became president.

   Angry Democrat mobs across the country would chant, "Tilden or blood," and
   reportedly in a dozen states, club-wielding "Tilden Minutemen" had formed
   threatening to march into Washington to take the White House for their candidate.
   This came to Tilden's chagrin, who sought to calm the rowdiness, as he didn't
   want to be responsible for an insurrection.




   Still, with all the bellicose verbiage from the newspapers and the masses, it was
   the Democrat hierarchy in the South that was ready to make a deal, though not
   the Northern Democrats.

   Richard Smith of the Republican Cincinnati Gazette reached out to Southern
   powerbrokers.

   Rutherford Hayes asserted to Smith in early January 1877: "I am not a believer in
   the trustworthiness of the forces you hope to rally." But, he told the                           SUBSCRIBE

            No. 1:21-cv-0040-CJN (Exhibits)                                                                 18
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3/22/2021            Case 1:21-cv-00040-CJN Document       22-3U.S.Filed
                                            The Top Five Rigged            03/22/21
                                                                    Presidential Elections Page 21 of 32

   newspaperman, he did back internal improvements and education funding in the
   South believing it would "divide the whites" and help "obliterate the color line."




   On the night of February 26, 1877, four Southern Democrats—Representatives
   John Y. Brown and Watterson of Kentucky, Senator J.B. Gordon of Georgia and
   Representative W. M. Levy of Louisiana—met with Ohio Republicans James
   Garfield and Charles Foster, both House members, and Ohio Senator Stanley
   Matthews and Ohio Senator-elect John Sherman at the Wormley House hotel in
   Washington to see if a deal could be reached to prevent the House Democrats
   from blocking the results with a filibuster.

   The men talked about details through the night, and by morning agreed to stop
   the House Democratic delay tactics that were blocking the certification of the
   Electoral Commission's findings, on the condition of ending Reconstruction,
   appointing a Southern Democrat to the Cabinet, and providing federal money for
   Southern projects. These were things Hayes expected to do anyway.

   1960: John F. Kennedy vs. Richard Nixon

   Earl Mazo, a Washington reporter for the New York Herald Tribune, began his
   investigation after he said Chicago reporters were "chastising" him and other
   national reporters for missing the real story.                                                   SUBSCRIBE

            No. 1:21-cv-0040-CJN (Exhibits)                                                                 19
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3/22/2021            Case 1:21-cv-00040-CJN Document       22-3U.S.Filed
                                            The Top Five Rigged            03/22/21
                                                                    Presidential Elections Page 22 of 32




   He traveled to Chicago, obtained a list of voters in the suspicious precincts, and
   began matching names with addresses. Mazo told The Washington Post:


              There was a cemetery where the names on the tombstones were registered
              and voted. I remember a house. It was completely gutted. There was
              nobody there. But there were 56 votes for [John F.] Kennedy in that house.


   Mazo also found that Chicago Mayor Richard Daley's charge that other counties
   were doing the same thing in favor of Republicans proved to be true—but nothing
   on the scale of what happened in Chicago.

   In Texas, Mazo found similar circumstances.




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            No. 1:21-cv-0040-CJN (Exhibits)                                                                 20
https://www.newsweek.com/top-five-rigged-us-presidential-elections-511765                                        9/19
3/22/2021            Case 1:21-cv-00040-CJN Document       22-3U.S.Filed
                                            The Top Five Rigged            03/22/21
                                                                    Presidential Elections Page 23 of 32




   The New York Herald Tribune planned a 12-part series on the election fraud. Four
   of the stories had been published and were republished in newspapers across the
   country in mid-December.

   At Richard Nixon's request, Mazo met him at the vice president's Senate office,
   where Nixon told him to back off, saying, "Our country cannot afford the agony of
   a constitutional crisis" in the midst of the Cold War.

   Mazo didn't back off, and Nixon called his editors. The newspaper did not run the
   rest of the series. "I know I was terribly disappointed. I envisioned the Pulitzer
   Prize," Mazo said.




   The entire matter wasn't void of accountability.

   Illinois state special prosecutor Morris Wexler, named to investigate charges of
   election fraud in Chicago, indicted 677 election officials, but couldn't nail down
   convictions with state Judge John Karns.

   It wasn't until 1962, when an election worker confessed to witness tampering in
   Chicago's 28th Ward, that three precinct workers pleaded guilty and served jail
   sentences.
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            No. 1:21-cv-0040-CJN (Exhibits)                                                                 21
https://www.newsweek.com/top-five-rigged-us-presidential-elections-511765                                        10/19
3/22/2021            Case 1:21-cv-00040-CJN Document       22-3U.S.Filed
                                            The Top Five Rigged            03/22/21
                                                                    Presidential Elections Page 24 of 32




   Pulitzer-winning journalist Seymour Hersh reported hearing tapes of FBI wiretaps
   about potential election fraud. Hersh—whose books indicate he is a fan of neither
   Kennedy nor Nixon—believed Nixon was the rightful winner.

   2000: George W. Bush vs. Al Gore

   Al Gore campaign aide Bob Beckel intended to make that moral case to Florida's
   electors—and perhaps electors in other states—who could be convinced to follow
   the will of the people. Gore did not need all of the state's electors, just four.

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   For that matter, he didn't think it had to be limited to Florida. He thought
   demonstrating statistics to prove Gore's win could sway enough of the George W.
   Bush electors to switch their votes since they were not legally bound.



                                                                                                    SUBSCRIBE

            No. 1:21-cv-0040-CJN (Exhibits)                                                                 22
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3/22/2021            Case 1:21-cv-00040-CJN Document       22-3U.S.Filed
                                            The Top Five Rigged            03/22/21
                                                                    Presidential Elections Page 25 of 32




   The Wall Street Journal first reported that Gore's team "has been checking into
   the background of Republican electors with an eye toward persuading a handful
   of them to vote for Mr. Gore."

   Beckel insisted afterward he never had plans to try to blackmail electors to collect
   Gore votes, which he thought the article implied. But in an interview on Fox News
   on November 17, 2000, Beckel said: "I'm trying to kidnap electors. Whatever it
   takes." Beckel later explained what the Founders wanted: "The idea was that
   electors, early on, were to be lobbied."

   Pro-Gore websites even started popping up, listing the names and contact
   information of Republican electors across the country, asking the public to
   barrage them with demands to vote for Gore and follow the will of the people.




                                                                                                    SUBSCRIBE

            No. 1:21-cv-0040-CJN (Exhibits)                                                                 23
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3/22/2021            Case 1:21-cv-00040-CJN Document       22-3U.S.Filed
                                            The Top Five Rigged            03/22/21
                                                                    Presidential Elections Page 26 of 32

   Republican National Committee Chairman Jim Nichols sent an email to
   supporters asking them to "Help Stop Democratic Electoral Tampering."
   Responding to the chairman, Beckel said: "The Constitution gives me the right to
   send a piece of mail to an elector."

   It never made a difference. No electors shifted, but it did serve as another twist as
   the 2000 election story unfolded—and another PR fumble for Democrats.

   Fred Lucas is the White House correspondent for The Daily Signal.




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https://www.newsweek.com/top-five-rigged-us-presidential-elections-511765                                        13/19
      Case 1:21-cv-00040-CJN Document 22-3 Filed 03/22/21 Page 27 of 32




No. 1:21-cv-0040-CJN (Exhibits)                                           25
      Case 1:21-cv-00040-CJN Document 22-3 Filed 03/22/21 Page 28 of 32




No. 1:21-cv-0040-CJN (Exhibits)                                           26
      Case 1:21-cv-00040-CJN Document 22-3 Filed 03/22/21 Page 29 of 32




No. 1:21-cv-0040-CJN (Exhibits)                                           27
      Case 1:21-cv-00040-CJN Document 22-3 Filed 03/22/21 Page 30 of 32




No. 1:21-cv-0040-CJN (Exhibits)                                           28
      Case 1:21-cv-00040-CJN Document 22-3 Filed 03/22/21 Page 31 of 32




No. 1:21-cv-0040-CJN (Exhibits)                                           29
      Case 1:21-cv-00040-CJN Document 22-3 Filed 03/22/21 Page 32 of 32




No. 1:21-cv-0040-CJN (Exhibits)                                           30
